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%A0 245D        (Rev. 12103) Judgment in a Criminal Case for Revocations
                                                                         #154
                Sheet 1




                          SOUTHERN                           District o f                                   ILLINOIS

         UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                               v.                                    (For Revocation of Probation or Supervised Release)

               QUENTIN C. McDONALD
                                                                     Case Number: 4:03CR40021-05
                                                                     USM Number: 05855-025
                                                                      Melissa A. Day, FPD
                                                                     Defendant's Attorney
THE DEFENDANT:
d admitted guilt to violation of condition(s) as alleged in petition                   of the tenn of
     was found in violation of condition(s)                                        after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                    Nature of Violation                                                      Violation Ended
 Statutory                           Defendant committed offense of Unlawful Possession of Drug                5/8/2007


 Standard # 5                        Defendant failed to maintain regular employment


       The defendant is sentenced as provided in pages 2 through            4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition(s)                                and is discharged as to such violation(s) condition.


                                                      ?
          It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untl all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of mater~alchanges m
economlc circumstances.

Defendant's Soc. Sec. No.:     XXX-XX-XXXX                           7/26/2007
Defendant's Date of Birth:            / 9 p4

Defendant's Residence Address:

Brookport, IL 62910                                                              V
                                                                     J. Phil Gilbert                                   District Judge
                                                                     Name of Judge                                 Title ofludge




Defendant's Mailing Address:

Same as above
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             Sheet 2-   Imprisonment

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 DEFENDANT: QUENTIN C. McDONALD
 CASE NUMBER: 4:03CR40021-05


                                                          IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term o f :
24 months




          The court makes the following recommendations to the Bureau of Prisons:




       66 The defendant is remanded to the custody of the United States Marshal.
          The defendant shall surrender to the United States Marshal for this district:
               at                                  a.m.         p.m.       on
               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2 p.m. on
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.

                                                              RETURN
  I have executed this judgment as follows:




          Defendant delivered on                                                   to

  at                                             with a certified copy of this judgment.



                                                                                              LINITED STATES MARSHAL


                                                                       BY
                                                                                           DEPUTY UNITED STATES MARSHAL
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             Sheet 3 -Supervised Release


DEFENDANT: QUENTIN C. McDONALD
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CASE NUMBER: 4:03CR40021-05
                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :
12 months


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall s u h t to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
@ The defendant sball not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
@ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        Ifthis 'udgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule od~aymentssheet of thls judgment.
          The defendant must comply with the standardconditionsthat have been adopted by this court as well as with any additional conditions
on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
 3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)     the defendant shall support his or her dependents and meet other family responsibilities;
 5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
 6)     the defendant sball notify the probation officer at least ten days prior to any change in residence or employment;
 7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant sball not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)     the defendant shall not associate,with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permlsslon to do so by the probatlon officer;
 10)    the defendant shall pepnit aprobation otlicer to visit him or her at an! time at homt or elstu hcrc and shall permit confiscation ofany
        contrahand ohsewed In plain vlew of the probatlon ot'ticer;
11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as dircctcd by the robdtion ot'licer, thc defendant shall not16 third panics pirisks that may be occas~onedb) (ht dcrendant's criminal
        record or personay,hismr),or characrer!st~c>and shall permlt the prohat~onofficer to make such not~ficatlonsand to confirm the
        defendant s compl~ancew~thsuch notltlcatlon requlremenr.
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           Sheet 3C - Supervised Release


DEFENDANT: QUENTIN C. McDONALD
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CASE NUMBER: 4:03CR40021-05

                                       SPECIAL CONDITIONS OF SUPERVISION
X The defendant shall cooperate in the collection of DNA as directed by the probation officer

X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
search pursuant to this condition.

X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
costs of counseling.

X The defendant shall submit within 15 days, not to exceed 52 tests in a one year period, for drug urinalysis.
